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 11   Attorneys for Plaintiff ALS Scan, Inc.
 12
 13                        UNITED STATES DISTRICT COURT
 14                      CENTRAL DISTRICT OF CALIFORNIA
 15
      ALS SCAN, INC., a Maryland                      Case No.: 2:16-cv-05051-GW-AFM
 16   corporation,                                    PLAINTIFF’S REQUEST FOR
 17                                                   EVIDENTIARY RULING RE
                  Plaintiff,                          STEADFAST’S STATEMENT OF
 18                                                   GENUINE DISPUTES
 19      vs.                                          Date: February 1, 2018
 20                                                   Time: 8:30 a.m.
      CLOUDFLARE, INC., a Delaware                    Place: Courtroom 9D
 21   corporation, et al.,                                   350 W. 1st Street
 22                                                          Los Angeles, CA
                   Defendants.
 23
 24
 25
 26
 27
 28


                   ALS MSJ – Steadfast – Evidentiary Objections to Genuine Disputes
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      Steadfast’s Undisputed Facts                   ALS’s Response


  1           ALS’s RESPONSE TO STEADFAST’S ADDITIONAL FACTS
  2
  3   49. The leased servers were                    Objection, vague and ambiguous as to
      completely dedicated to Flixya,                the term “hosting.”
  4   including its operation of hosting
  5   Flixya’s Imagebam.com website
      (Zimmerman Decl. ¶¶14-20).
  6
      50. Steadfast had no ability to                Objection, calls for a legal conclusion.
  7   terminate services to individual users
  8   of Imagebam.com other than
      unilaterally shutting down the entire
  9   server which would have violated the
 10   law (JLA Decl. Ex. O p.45:6-24;
      Zimmerman Decl. ¶11).
 11
      51. Imagebam.com was not a pirate              Objection, vague and ambiguous as to
 12   site when it was operated by Flixya            the term “pirate.”
 13   (JLA Decl. Exs. K-N, T; Zimmerman
      Decl. ¶¶38-39).
 14   57. Steadfast did not handle Flixya’s          Objection, vague and ambiguous as to
 15   Imagebam.com user complaints                   the term “handle.”
      (Zimmerman Decl. ¶ 22).
 16
      63. Flixya has its own terms and               Objection, lacks foundation, hearsay.
 17   conditions that apply to its users, and it
 18   maintains its own DMCA agent. (JLA
      Decl. Exhs. Q and R).
 19   64. Many, of the infringers of the             Objection, lacks foundation, assumes
 20   ALS content, were actually ALS’s               facts not in evidence.
      own members who posted ALS
 21   content (JLA Decl. Ex. B Penn
 22   09/13/17 Dep. 56:6-57:24; Ex. C
 23   Easton 09/06/17 Dep. 36:3-38:4; Ex. B
      Penn 09/13/17 Dep. 94:8-97:2; Ex. E
 24   Easton 07/28/17 Dep. 36:22-37:4).
 25   67. ALS confirmed that all the images          Objection, lacks foundation, vague,
      addressed in the notices were removed          assumes facts not in evidence.
 26   expeditiously (JLA Decl. Ex. C Easton
 27   09/06/17 Dep. 36:22-37:4).
 28   68. Flixya posted the required DMCA            Objection, lacks foundation, hearsay.


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      Steadfast’s Undisputed Facts                  ALS’s Response


  1   information on its Imagebam.com
      website (JLA Decl. Exhs. Q & R;
  2   Penn’s 09/13/17 Dep. Ex. 6).
  3   69. Flixya had users agree to the             Objection, lacks foundation, hearsay.
      terms of service (JLA Decl. Exhs. Q &
  4
      R; Penn’s 09/13/17 Dep. Ex. 6).
  5   71. Steadfast made sure complained            Objection. Steadfast cannot provide
  6   of content was removed through its            testimony by declaration that
      ticketing system which tracked all            contradicts the testimony of its
  7   DMCA notices, including those where           30(b)(6) witness. A party may not
  8   Steadfast was merely cc’d (Kevin              testify one way in a corporate
      Stange Decl. ¶¶ 4-10).                        deposition and later adduce
  9
                                                    contradictory testimony from an
 10                                                 employee. Rainey v. American Forest
 11                                                 & Paper Ass’n, Inc., 26 F.Supp.2d 82,
                                                    95 (D. D.C. 1998) [corporate party
 12                                                 bound by 30(b)(6) testimony and
 13                                                 could not use conflicting affidavits in
                                                    summary judgment motion]; Reilly v.
 14                                                 NatWest Markets Group, Inc., 181
 15                                                 F.3d 253, 268 (2d Cir. 1999) (more
                                                    knowledgeable witness prevented
 16
                                                    from testifying at trial).
 17
 18   72. Steadfast never received a                Objection, compound, vague and
      DMCA-compliant notification from              ambiguous.
 19   Easton because it is not the designated
 20   agent of Imagebam.com (JLA Decl.
      Ex. B, Penn Dep. 50:17 – 52-6; Ex. Q;
 21
      Stange Decl. 5).
 22   75. Steadfast immediately forwarded           Objection. Steadfast cannot provide
 23   the DMCA Notices to Flixya which              testimony by declaration that
      resulted in the images being removed          contradicts the testimony of its
 24   (Stange Decl. ¶8; JLA Ex. C Easton            30(b)(6) witness. A party may not
 25   09/06/17 Dep. 36:22-37:4).                    testify one way in a corporate
                                                    deposition and later adduce
 26
                                                    contradictory testimony from an
 27                                                 employee. Rainey v. American Forest
 28                                                 & Paper Ass’n, Inc., 26 F.Supp.2d 82,


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      Steadfast’s Undisputed Facts                  ALS’s Response


  1                                                 95 (D. D.C. 1998) [corporate party
                                                    bound by 30(b)(6) testimony and
  2                                                 could not use conflicting affidavits in
  3                                                 summary judgment motion]; Reilly v.
                                                    NatWest Markets Group, Inc., 181
  4
                                                    F.3d 253, 268 (2d Cir. 1999) (more
  5                                                 knowledgeable witness prevented
  6                                                 from testifying at trial).
      78. Despite knowing its members               Objections, assumes facts not in
  7   were violating its terms and                  evidence.
  8   conditions, ALS never terminated any
      memberships for copyright
  9   infringement (JLA Decl. Ex. B Penn
 10   09/13/17 Dep. 98:10-100:8).
 11   85. Flixya never promoted infringing          Objection, lacks foundation, hearsay.
      activity at its Imagebam.com website.
 12   (JLA Decl. Ex.Q).
 13   89. Steadfast’s only means to                 Objection, calls for a legal conclusion.
      withdraw services from individual
 14   Imagebam.com’s users would be to
 15   break the law by hacking Flixya’s
 16   system. (JLA Decl. Ex. O, KZ Dep.
      45:6-24; Zimmerman Decl. ¶¶29-32).
 17   90. Flixya is not a direct infringer          Objection, lacks foundation, call for a
 18   (JLA Decl. Ex. B, Penn Dep. 64:13-            legal conclusion.
      65:11; 72:10-24).
 19   91. Flixya posted the required DMCA           Objection, lacks foundation, hearsay.
 20   information on imagebam.com, had
 21   users agree to the terms of service, and
      informed users that his or her account
 22   will be terminated (JLA Decl. Ex. O,
 23   KZ Dep. 24:2-27:24, Exhs. Q & R).
      92. Flixya had a system for removing          Objection, lacks foundation, hearsay.
 24   unauthorized content, responding to
 25   DMCA notifications, removing
      content, and terminating repeat
 26
      infringers (JLA Decl. Ex. O, KZ Dep.
 27   24:2-27:24, Exhs. Q & R).
 28   93. ALS, through Eric Penn, has               Objection, vague and ambiguous.


                   ALS MSJ – Steadfast – Evidentiary Objections to Genuine Disputes
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      Steadfast’s Undisputed Facts                  ALS’s Response


  1   admitted Steadfast would not have
      specific knowledge of infringement
  2   (JLA Decl. Ex. B Penn 09/13/17 Dep.
  3   62:16-64:11; 77:9-77:19; 81:9-81:17;
      86:5-86:12; 93:15-22; 105:18-25;
  4
      109:6-13: 116:23-117:3).
  5   94. Steadfast immediately forwarded           Objection. Steadfast cannot provide
  6   the notices it received from ALS to           testimony by declaration that
      Flixya (Stange Decl. ¶ 8 JLA Decl. Ex.        contradicts the testimony of its
  7   O KZ Dep. 86:23-87:9).                        30(b)(6) witness. A party may not
  8                                                 testify one way in a corporate
                                                    deposition and later adduce
  9                                                 contradictory testimony from an
 10                                                 employee. Rainey v. American Forest
 11                                                 & Paper Ass’n, Inc., 26 F.Supp.2d 82,
                                                    95 (D. D.C. 1998) [corporate party
 12                                                 bound by 30(b)(6) testimony and
 13                                                 could not use conflicting affidavits in
                                                    summary judgment motion]; Reilly v.
 14                                                 NatWest Markets Group, Inc., 181
 15                                                 F.3d 253, 268 (2d Cir. 1999) (more
                                                    knowledgeable witness prevented
 16
                                                    from testifying at trial).
 17   95. Flixya disabled access to all the         Objection, lacks foundation.
 18   allegedly infringing works that were
      hosted on imagebam.com and they are
 19   no longer available on imagebam.com
 20   (JLA Decl. Ex. C Easton 09/06/17
      Dep. 36:22- 37:4).
 21
      96. Imagebam.com is an image host       Objection, lacks foundation, hearsay.
 22   therefore Flixya is a servicer provider
 23   and Flixya was the designated an agent
      for Imagebam.com with the Copyright
 24   Office and conspicuously posted the
 25   necessary DMCA-agent information
      on its website (JLA Decl. Exs. Q and
 26
      R, Penn 09/13/2017 Dep. Exs. 6 &
 27   10).
 28   100. Steadfast could not remove the     Objections, calls for a legal


                   ALS MSJ – Steadfast – Evidentiary Objections to Genuine Disputes
Case 2:16-cv-05051-GW-AFM Document 320 Filed 01/19/18 Page 6 of 11 Page ID #:7599

      Steadfast’s Undisputed Facts                  ALS’s Response


  1   material on its servers without               conclusion.
      breaking the law (17 U.S.C. §
  2   512(m)(2); 18 U.S.C. § 1030
  3   (prohibiting accessing a computer
      without or in excess of authorization)).
  4
      101. Steadfast did something in          Objection. Steadfast cannot provide
  5   response to each of Easton’s notices     testimony by declaration that
  6   (Stange Decl. ¶ 10; JLA Decl. Ex. O      contradicts the testimony of its
      KZ Dep. 45:6-24).                        30(b)(6) witness. A party may not
  7                                            testify one way in a corporate
  8                                            deposition and later adduce
                                               contradictory testimony from an
  9                                            employee. Rainey v. American Forest
 10                                            & Paper Ass’n, Inc., 26 F.Supp.2d 82,
 11                                            95 (D. D.C. 1998) [corporate party
                                               bound by 30(b)(6) testimony and
 12                                            could not use conflicting affidavits in
 13                                            summary judgment motion]; Reilly v.
                                               NatWest Markets Group, Inc., 181
 14                                            F.3d 253, 268 (2d Cir. 1999) (more
 15                                            knowledgeable witness prevented
                                               from testifying at trial).
 16
      102. In response to Easton’s notices,    Objection. Steadfast cannot provide
 17   Steadfast immediately forwarded the      testimony by declaration that
 18   notices to Flixya, which resulted in the contradicts the testimony of its
      removal of the material or the           30(b)(6) witness. A party may not
 19   material’s accessibility being disabled testify one way in a corporate
 20   (JLA Decl. Ex. C Easton Dep. 28:25- deposition and later adduce
      29:3).                                   contradictory testimony from an
 21
                                               employee. Rainey v. American Forest
 22                                            & Paper Ass’n, Inc., 26 F.Supp.2d 82,
 23                                            95 (D. D.C. 1998) [corporate party
                                               bound by 30(b)(6) testimony and
 24                                            could not use conflicting affidavits in
 25                                            summary judgment motion]; Reilly v.
                                               NatWest Markets Group, Inc., 181
 26                                            F.3d 253, 268 (2d Cir. 1999) (more
 27                                            knowledgeable witness prevented
 28                                            from testifying at trial).


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      Steadfast’s Undisputed Facts                  ALS’s Response


  1   103. Steadfast engaged in the activity   Objection. Steadfast cannot provide
      of forwarding notices to Flixya with     testimony by declaration that
  2   the goal of removing the material (JLA   contradicts the testimony of its
  3   Decl. Ex. C Easton Dep. 32:22-23).       30(b)(6) witness. A party may not
                                               testify one way in a corporate
  4
                                               deposition and later adduce
  5                                            contradictory testimony from an
  6                                            employee. Rainey v. American Forest
                                               & Paper Ass’n, Inc., 26 F.Supp.2d 82,
  7                                            95 (D. D.C. 1998) [corporate party
  8                                            bound by 30(b)(6) testimony and
                                               could not use conflicting affidavits in
  9                                            summary judgment motion]; Reilly v.
 10                                            NatWest Markets Group, Inc., 181
 11                                            F.3d 253, 268 (2d Cir. 1999) (more
                                               knowledgeable witness prevented
 12                                            from testifying at trial).
 13   104. Steadfast’s actions resulted in the Objection. Steadfast cannot provide
      removal of the alleged infringing ALS testimony by declaration that
 14   content, which ALS acknowledges          contradicts the testimony of its
 15   (JLA Decl. Ex. C Easton Dep. 37:3-4). 30(b)(6) witness. A party may not
                                               testify one way in a corporate
 16
                                               deposition and later adduce
 17                                            contradictory testimony from an
 18                                            employee. Rainey v. American Forest
                                               & Paper Ass’n, Inc., 26 F.Supp.2d 82,
 19                                            95 (D. D.C. 1998) [corporate party
 20                                            bound by 30(b)(6) testimony and
                                               could not use conflicting affidavits in
 21
                                               summary judgment motion]; Reilly v.
 22                                            NatWest Markets Group, Inc., 181
 23                                            F.3d 253, 268 (2d Cir. 1999) (more
                                               knowledgeable witness prevented
 24                                            from testifying at trial).
 25   105. Steadfast had a ticketing system Objection. Steadfast cannot provide
      which monitored all incoming DMCA testimony by declaration that
 26   notifications and set up procedures to contradicts the testimony of its
 27   follow up on all received notices to     30(b)(6) witness. A party may not
 28   ensure compliance by their clients       testify one way in a corporate


                   ALS MSJ – Steadfast – Evidentiary Objections to Genuine Disputes
Case 2:16-cv-05051-GW-AFM Document 320 Filed 01/19/18 Page 8 of 11 Page ID #:7601

      Steadfast’s Undisputed Facts                   ALS’s Response


  1   (Decl. Stange ¶¶3-9).                          deposition and later adduce
                                                     contradictory testimony from an
  2                                                  employee. Rainey v. American Forest
  3                                                  & Paper Ass’n, Inc., 26 F.Supp.2d 82,
                                                     95 (D. D.C. 1998) [corporate party
  4
                                                     bound by 30(b)(6) testimony and
  5                                                  could not use conflicting affidavits in
  6                                                  summary judgment motion]; Reilly v.
                                                     NatWest Markets Group, Inc., 181
  7                                                  F.3d 253, 268 (2d Cir. 1999) (more
  8                                                  knowledgeable witness prevented
                                                     from testifying at trial).
  9   106. Steadfast adopted a policy that           Objection as to time.
 10   read in part “This document clearly
 11   outlines procedures and restrictions for
      all clients. . . . [W]e will not tolerate
 12   any unlawful activity or abuse on our
 13   servers. . . . In the absence of any other
      Agreement, you will have accepted
 14   this Policy and these Terms and be
 15   bound by them if you use any of the
      services offered by Steadfast
 16
      (“Services”). . . . We reserve the right
 17   to refuse service to anyone for any
 18   reason not prohibited by law. Also we
      reserve the right to terminate service to
 19   any client for any reason not
 20   prohibited by law. . .. Transmission,
      storage, or presentation of any
 21
      information, data or material in
 22   violation of any American law is
 23   prohibited. This includes, but is not
      limited to: copyrighted material,
 24   trademark, intellectual property,
 25   material that promotes any illegal
      activity. . . . Any illegal activity may
 26   result in your site being suspended
 27   immediately, without notification”
 28   (Decl. of KZ ¶6, Ex. A).


                    ALS MSJ – Steadfast – Evidentiary Objections to Genuine Disputes
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      Steadfast’s Undisputed Facts                  ALS’s Response


  1   110. Steadfast had a working            Objection. Steadfast cannot provide
      notification system; a procedure for    testimony by declaration that
  2   dealing with DMCA notifications; did    contradicts the testimony of its
  3   not prevent copyright holders from      30(b)(6) witness. A party may not
      collecting information to issue         testify one way in a corporate
  4
      notifications (Stange Decl. ¶¶ 4-10).   deposition and later adduce
  5                                           contradictory testimony from an
  6                                           employee. Rainey v. American Forest
                                              & Paper Ass’n, Inc., 26 F.Supp.2d 82,
  7                                           95 (D. D.C. 1998) [corporate party
  8                                           bound by 30(b)(6) testimony and
                                              could not use conflicting affidavits in
  9                                           summary judgment motion]; Reilly v.
 10                                           NatWest Markets Group, Inc., 181
 11                                           F.3d 253, 268 (2d Cir. 1999) (more
                                              knowledgeable witness prevented
 12                                           from testifying at trial).
 13   111. Since 2013 Steadfast received an Objection, assumes facts not in
      average of 28 notices per month (albeit evidence, compound, lacks foundation.
 14   deficient notices under the DMCA)
 15   regarding images on Flixya’s
      Imagebam.com. For the years 2016
 16
      and 2017 the number of notices
 17   actually decreased to 21 per month.
 18   (JLA Decl. Ex. P Steadfast’s Response
      to Plaintiff’s Second Special
 19   Interrogatories).
 20   112. Google receives 75,000,000         Objection, lacks foundation, hearsay.
      DMCA notices a month (JLA Decl.
 21
      Ex. S).
 22   113. Flixya posted the required         Objection, lacks foundation, hearsay.
 23   DMCA information on its
      imagebam.com website (JLA Decl.
 24   Ex. B, Penn Dep. 50:17-52:6; Ex. O,
 25   KZ Dep. 24:2-27:24, Ex. R).
      114. Flixya users agree to the terms of Objection, lacks foundation, hearsay.
 26
      service, and informed users that his or
 27   her account will be terminated (JLA
 28   Decl. Ex. B, Penn Dep. 50:17-52:6;


                   ALS MSJ – Steadfast – Evidentiary Objections to Genuine Disputes
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       Steadfast’s Undisputed Facts                 ALS’s Response


   1   Ex. O, KZ Dep. 24:2-27:24, Ex. R).
       115. Flixya had an automated system          Objection, lacks foundation, hearsay.
   2   for removing unauthorized content,
   3   responded to DMCA notifications,
       removed content, and terminated
   4
       repeat infringers (JLA Decl. Ex. O,
   5   KZ Dep. pp 24:2-27:24).
   6
   7
   8   DATED: January 19, 2018                   SPILLANE LAW GROUP PLC
                                                 GHALLAGHER & KENNEDY P.A.
   9
 10
 11
                                                 By: _____________________________
 12                                                          Jay M. Spillane
                                                 Attorneys for Plaintiff ALS Scan, Inc.
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                   ALS MSJ – Steadfast – Evidentiary Objections to Genuine Disputes
   Case 2:16-cv-05051-GW-AFM Document 320 Filed 01/19/18 Page 11 of 11 Page ID #:7604



                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this action. My business address is: 468 N. Camden Drive, Second Floor,
Beverly Hills, CA 90210-4507. A true and correct copy of the foregoing document entitled (specify):
PLAINTIFF’S REQUEST FOR EVIDENTIARY RULING RE STEADFAST’S
STATEMENT OF GENUINE DISPUTES will be served or was served (a) on the judge in chambers in the
form and manner required by Local Rules and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and Local Rules, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) January 19, 2018, I checked the CM/ECF docket for this action and determined that the following persons are on
the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Gary L. Bostwick– gbostwick@B1Law.com                           Colin TJ O’Brien – tm@partridgepartnerspc.com
Kevin S. Toll – kevin@silversteinlegal.com                      John L. Ambrogi – jla@partridgepartnerspc.com
Lawrence G. Walters – larry@firstamendment.com                  Daniel L Rogna daniel@partridgepartnerspc.com
Corey D. Silverstein – corey@silversteinlegal.com               Paul Supnick – paul@supnick.com
Rachel Kassabian – rachelkassabian@quinnemanuel.com             Raymond Katrinak – pkatrinak@kernanlaw.net
Carolyn M. Homer – carolynhomer@quinnemanuel.com                Ryan Carreon – rcarreon@kernanlaw.net
Mark Thomas Gray markgray@quinnemanuel.com                      Stephen M Kernan – kernanlaw@gmail.com
Armen Nercessian anercessian@fenwick.com                        John P Flynn john.flynn@gknet.com
Jedediah Wakefield jwakefield@fenwick.com                       Kevin D Neal kevin.neal@gknet.com
Sapna S Mehta smehta@fenwick.com

                                                                           Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) January 19, 2018, I served the following persons and/or entities at the last known addresses in this case by
placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
than 24 hours after the document is filed.

                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling Local Rule, on (date) January 19, 2018, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.

Served by Overnight Mail or Attorney Service
Hon. George H. Wu
U.S. District Court
         st
350 W. 1 Street
Courtroom 9D
Los Angeles, CA 90012                                                      Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 1/19/2018                   Jessie Gietl

 Date                     Printed Name                                         Signature
